Case 23-61742-bem        Doc 251    Filed 03/17/25 Entered 03/17/25 15:29:15             Desc Main
                                   Document      Page 1 of 4




      IT IS ORDERED as set forth below:



      Date: March 17, 2025
                                                            _________________________________

                                                                     Barbara Ellis-Monro
                                                                U.S. Bankruptcy Court Judge

     ________________________________________________________________




              IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
 IN RE:                        :
                               :    CHAPTER 11
 ARC MANAGEMENT GROUP, LLC, :
                               :    Case No. 23-61742 - BEM
          Debtor.              :

                ORDER APPROVING MODIFICATION OF SETTLEMENT

         This matter is before the Court on the Emergency Motion by Chapter 11 Trustee for an

 Order Approving Modification of Settlement and Request for Expedited Hearing [Doc. No. 245]

 (the “Motion”)1 that was filed by S. Gregory Hays, as Chapter 11 Trustee (“Trustee”) for the

 bankruptcy estate (the “Estate”) of ARC Management Group, LLC, Debtor (the “Debtor”) in the

 above captioned case (the “Case”). On March 7, 2025, the Court entered its ORDER




 1
  Capitalized, but undefined, terms used herein shall have the meaning ascribed to such terms in the
 Motion.

                                                 1
Case 23-61742-bem        Doc 251     Filed 03/17/25 Entered 03/17/25 15:29:15            Desc Main
                                    Document      Page 2 of 4



 SHORTENING NOTICE AND SCHEDULING EXPEDITED HEARING ON EMERGENCY

 MOTION BY CHAPTER 11 TRUSTEE FOR AN ORDER APPROVING MODIFICATION OF

 SETTLEMENT AND REQUEST FOR EXPEDITED HEARING AND EMERGENCY

 MOTION BY CHAPTER 11 TRUSTEE FOR AN ORDER CONVERTING THE CHAPTER 11

 CASE OF THE DEBTOR TO A CASE UNDER CHAPTER 7 AND REQUEST FOR

 EXPEDITED HEARING wherein the Court scheduled a hearing on the Motion for March 13,

 2025 (the “Hearing”).

         This Court having reviewed and considered the Motion and argument of counsel at the

  Hearing and having found that: 1) due and adequate notice of the Motion and the Hearing was

  provided under the circumstances of this Case; 2) no objections were asserted to the relief sought

  in the Motion at or prior to the Hearing; 3) no other or further notice or opportunity is need be

  given; and 4) that good cause exists for the relief sought in the Motion, it is hereby ORDERED,

  ADJUDGED and DECREED that:

        1.      The Motion is GRANTED as set forth herein.
        2.      The Modification Agreement (“Modification Agreement”) attached to the Motion

 is APPROVED and AUTHORIZED.

        3.      The Settlement and Release Agreement dated August 16, 2024 (the “Settlement”)

 referenced in the Motion, a copy of which is attached as Exhibit A to the Motion for Approval of

 Settlement Agreement [Doc. No. 181], by and among the Debtor, Flock Financial, LLC (“Flock”),

 WebBank (“WebBank”), Libertas Funding, LLC (“Libertas”), SuperB Capital, LLC (“SuperB”

 or “Libertas”), and Lendspark Corporation (“Lendspark” and collectively with WebBank,

 Libertas, and SuperB, the “Libertas Parties”) is modified by the Modification Agreement.

        4.      The Trustee is authorized to enter the Modification Agreement on behalf of the

 Debtor and further authorized and empowered to take all actions necessary to implement the

                                                  2
Case 23-61742-bem       Doc 251     Filed 03/17/25 Entered 03/17/25 15:29:15            Desc Main
                                   Document      Page 3 of 4



 Modification Agreement and the relief granted herein.

        5.      This Court shall retain jurisdiction to hear and determine all matters arising from

 or related to the implementation, interpretation and/or enforcement of this Order.

                                    *** END OF ORDER ***

 Prepared and Presented By:
 LAW OFFICES OF HENRY F. SEWELL JR., LLC

 /s/ Henry F. Sewell, Jr.
 Henry F. Sewell, Jr.
 Georgia Bar No. 636265
 Buckhead Centre
 2964 Peachtree Road NW, Suite 555
 Atlanta, GA 30305
 (404) 926-0053; hsewell@sewellfirm.com
 COUNSEL FOR THE TRUSTEE




                                                 3
Case 23-61742-bem       Doc 251    Filed 03/17/25 Entered 03/17/25 15:29:15   Desc Main
                                  Document      Page 4 of 4




                                       DISTRIBUTION LIST


 ARC Management Group, LLC
 1825 Barrett Lakes Blvd., N.W.
 Suite 505
 Kennesaw, GA 30144

 William A. Rountree
 Rountree Leitman Klein & Geer, LLC
 Century Plaza I, Suite 350,2987 Clairmont Road
 Atlanta, GA 30329

 Alan Hinderleider
 United States Department of Justice
 Office of the United States Trustee
 362 Richard B. Russell Building
 75 Ted Turner Drive, SW
 Atlanta, Georgia 30303

 S. Gregory Hays, Trustee
 Suite 555
 2964 Peachtree Road NW
 Atlanta, Georgia 30305

 Henry F. Sewell, Jr.
 Suite 555
 2964 Peachtree Road NW
 Atlanta, Georgia 30305




                                               4
